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FORM 33. Response to Notice of Oral Argument                                          Form 33
                                                                                 December 2024
                    UNITED STATES COURT OF APPEALS
                       FOR THE FEDERAL CIRCUIT

                   RESPONSE TO NOTICE OF ORAL ARGUMENT

          Case Number: 23-1245

  Short Case Caption: Lashify, Inc. v. ITC

            Filing Party: Artemis Family Beginnings, Inc.; Alicia Zeng

Instructions. No more than two counsel may argue per side, and no more than one counsel
may argue on behalf of each party or on behalf of parties represented by the same counsel or
by counsel from the same firm. Fed. Cir. R. 34(e)(2). Each arguing counsel must complete
and submit a separate Form 33, but counsel arguing on behalf of parties represented by other
counsel should only submit one Form 33 and list all parties below. Parties represented by
distinct counsel may elect to have one counsel represent their collective interests at
argument, and no amended entry of appearance is required.
Parties intending to waive argument should check the waiver box below; parties not waiving
argument should complete the remainder of the form. Argument time must be identified in
whole minutes. Rebuttal time is only allowed for Appellants and Cross-Appellants. Unless
otherwise ordered, cases must not exceed 15 minutes per side, including any rebuttal time.

Oral Argument Waiver                   ☐ The above party intends to waive oral argument.
                                        ■




Accommodation Need                     ☐ Arguing counsel requires an accommodation.
Arguing Counsel Name
(Include Mr., Ms., Dr., Mx., etc.
and a phonetic spelling of last
name)
Parties I am representing at
argument (if different from
filing parties; attach additional
page if needed)
Phone:                                 Main Argument Mins.:           Rebuttal Mins.:
☐ I am dividing time with another counsel (counsel must file separate Responses).

I acknowledge that (1) oral argument is scheduled as stated in the court’s notice and may
proceed even if I waive argument, see Fed. R. App. P. 34(e)–(f); (2) arguing counsel can only
change through filing an amended version of this form; and (3) counsel who have not entered
appearances in the case and are not listed on this form cannot present oral argument.
      December 9, 2024
Date: _________________                    Signature: /s/ Jason R. Bartlett

                                               Name: Jason R. Bartlett
